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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Honorable Marcia S. Krieger

 Criminal Action No. 11-cr-00355-MSK

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.

 1. WAUNITA WEINGART
 2. JOHN PHILLIP GALLEGOS
 3. ALOIS CRAIG WEINGART

                Defendants.


      ORDER AND NOTICE OF CHANGE OF PLEA AND SENTENCING HEARINGS


        THIS MATTER comes before the Court following the filing of a Notice of Disposition

 (#206) on January 29, 2013, by Defendant John Phillip Gallegos. The Court construes this

 Notice as a motion to change his/her plea and to have the Court consider the terms of the parties’

 plea agreement.

        IT IS THEREFORE ORDERED that:

        1.      Pursuant to 18 U.S.C. § 3161(h)(1)(F) and (I), the speedy trial clock is tolled

                pending determination of those matters.

        2.      A Change of Plea hearing is set for February 11, 2013, at 10:00 a.m. and a

                Sentencing hearing is set for May 6, 2013, at 9:00 a.m. in the United States

                District Court for the District of Colorado, Courtroom A901, Alfred A. Arraj U.S.
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                   Courthouse, 901 19th Street, Denver, Colorado.1

          3.       The final trial preparation conference set for March 14, 2013, and the March 18,

                   2013, trial date are VACATED.

          DATED this 29th day of January, 2013.


                                                                BY THE COURT:




                                                                Marcia S. Krieger
                                                                Chief United States District Judge




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             In criminal cases originating from the Grand Junction or Durango Jury Divisions of this Court, counsel
 shall be prepared to advise the Court at the time of the change of plea hearing whether a written request to have the
 sentencing hearing conducted at the courthouse in either Grand Junction or Durango will be filed. See
 Administrative Order 2007-8.
